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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                               No. CR-22-01392-PHX-JJT
 9
                    Plaintiff,                                PROTECTIVE ORDER
10
             vs.
11
12   Kingsley Sebastian Ibhadore,
13                  Defendant.
14
15          Pursuant to Federal Rule of Criminal Procedure 16(d)(1), the United States’ motion,
16   no objection from the defendant, and good cause appearing,
17          IT IS HEREBY ORDERED that the United States’ motion for a protective order
18   (Doc. 16) is GRANTED.
19          IT IS FURTHER ORDERED that:
20          1.     The United States may disclose to defense counsel, without redaction, the
21   private information and personally identifying information (collectively “PII”) of
22   individuals to the extent that PII is present in discoverable materials. PII includes, but is
23   not limited to, addresses, telephone numbers, dates of birth, social security numbers, and
24   financial information.
25          2.     Defense counsel may share materials containing PII with members of the
26   defense team, including experts, investigators, and other professionals retained by the
27   defendant or defense counsel to assist in the preparation of the defense.
28          3.     The defense team shall safeguard and shall not disclose the PII provided to
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 1   them, other than to the extent necessary to prepare the defense.
 2          4.     The defense team may review materials containing PII with the defendant
 3   and potential witnesses to the extent necessary to prepare the defense.
 4          5.     The defendant and potential witnesses shall not be allowed to retain any
 5   materials containing PII during the course of the litigation unless defense counsel ensures
 6   that all PII has been redacted from the copies to be retained.
 7          6.     The defense team shall destroy, at the conclusion of this matter, all PII in its
 8   possession, except that defense counsel shall be allowed to retain materials containing PII
 9   until the time expires for all appeals, collateral attacks, other writs or motions challenging
10   the conviction or sentence, and actions for professional malpractice.
11          Dated this 13th day of December, 2022.
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13
                                       Honorable John J. Tuchi
14                                     United States District Judge
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